   USCA11 Case: 21-11565           Document: 9         Date Filed: 08/25/2021      Page: 1 of 1


                       IN THE UNITED STATES COURT OF APPEALS

                                FOR THE ELEVENTH CIRCUIT
                                  ________________________

                                       No. 21-11565-C
                                  ________________________

SEAN P. REILLY,

                                                                              Petitioner-Appellant,

                                              versus

SECRETARY, FLORIDA DEPARTMENT OF CORRECTIONS,

                                                                            Respondent-Appellee.
                                  ________________________

                          Appeal from the United States District Court
                              for the Northern District of Florida
                                ________________________

ORDER:

       Sean Reilly moves for a certificate of appealability and leave to proceed on appeal in forma

pauperis in order to appeal the district court’s dismissal of his 28 U.S.C. § 2254 petition for lack

of jurisdiction. Reilly’s motion for a COA is DENIED AS UNNECESSARY. See Hubbard v.

Campbell, 379 F.3d 1245 (11th Cir. 2004).

       The motion for leave to proceed in forma pauperis is GRANTED.


                                                                   /s/ Robert J. Luck
                                                             UNITED STATES CIRCUIT JUDGE
